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Exhibit 6
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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE, CENTRAL JUSTICE CENTER
DEPARTMENT 62

KELLI PETERS, ET. AbL.,
PLAINTIFF,
Vs. NO. 30~2012-00588580

KENT W. EASTER, ET. AL.; AND
DOES 1 TO 100, INCLUSIVE,

DEFENDANTS .

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HONORABLE MICHAEL BRENNER, JUDGE PRESIDING
REPORTER'S TRANSCRIPT

FEBRUARY 5, 2016
VOLUME IV ~ PAGES 278 THROUGH 374

APPEARANCES OF COUNSEL:

FOR THE PLAINTIEFE:

MARCEREAU & NAZIF

BY: ROBERT H., MARCEREAU

AND SY NAZIF

FOR THE DEFENDANT KENT W. EASTER:
IN PRO PER

BY: KENT W. BASTER

JBANETTE A. GILLICK, CSR NO. 7961
OFFICIAL COURT REPORTER

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MR. NAZIF: WE DO, YOUR HONOR. WE ARE IN
AGREEMENT HOW IT'S PUT TOGETHER.

MR. EASTER: YES.

THE COURT: WE WILL GIVE OURSELVES A LITTLE TIME
ONCE BOTH SIDES HAVE RESTED. WE ALSO HAVE TO DEAL WITH THE
EXHIBITS. WE WILL COMF BACK AND THEN HAVE ARGUMENT. WE
SHOULD BE ABLE TO HAVE AT LEAST PLAINTIFF'S OPENING
ARGUMENT BEFORE NOON.

LET'S ASK THE JURY TO JOIN US.

(WHEREUPON THE JURY ENTERS THE COURTROOM.)
(THE FOLLOWING PROCEEDINGS WERE HELD IN OPEN COURT IN THE
PRESENCE OF THE JURY:)

THE COURT: GOOD MORNING, LADIES AND GENTLEMEN.

MR. BURKHALTER, I HAVE YOUR NOTE. I UNDERSTAND
WHAT YOU ARE SAYING, AND WE WILL TAKE CARE OF ALL OF THAT.
DON'T BE CONCERNED ABOUT IT.

MR. EASTER, I BELIEVE YOU WERE ON THE STAND.

KENT FASTER,

CALLED AS A WITNESS ON BEHALF OF THE DEFENDANTS, AND HAVING
BEEN PREVIOUSLY DULY SWORN, WAS EXAMINED AND TESTIFIED AS
FOLLOWS :

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Q SO WHEN YOU GOT TO THE HOTEL, YOU WENT THROUGH THE
LOBBY AND WENT BACK TO THE BUSINESS CENTER WHERE THEY HAD
‘PUBLIC USE PHONES?

A ‘THAT'S RIGHT.

Q AND I WON'T GO THROUGH ALL OF THE DETATLS OF THE
CALL. WE HAVE BEEN THROUGH IT. BUT IN THAT CALL YOU
MENTIONED TO THE POLICE THAT YOU WERE A PARENT WHO HAD A
DAUGHTER AT THE ELEMENTARY SCHOOL, RIGHT?

A YES. I WAS DOING EVERYTHING I COULD TO NOT BE
CONNECTED WITH THE CALL.

Q SO YOU DIDN'T HAVE A DAUGHTER WHO WAS GOING TO THE
SCHOOL?

A NO, I DID NOT.

Q WHEN YOU MADE THAT CALL TO THE POLICE AND YOU TOLD
THEM THAT YOU SAW KELLI PETERS DRIVING ERRATICALLY AND
STASHING DRUGS IN HER CAR, YOU WERE INTENDING TO CAUSE HER
HARM, WEREN'T YOU?

A YRS.

MR. MARCEREAU: NOTHING FURTHER, YOUR HONOR.

THE COURT: ALL RIGHT, MR. EASTER. DO YOU HAVE
ANY OTHER QUESTIONS?

MR. EASTER: NO, I DON'T HAVE ANYTHING FURTHER.

THE COURT: ALL RIGHT, YOU CAN STEP DOWN, SIR.

MR. MARCEREAU, DO YOU HAVE ADDITIONAL WITNESSES?

MR. MARCEREAU; NO YOUR HONOR.

THE COURT: WILL THERE BE ANY REBUTTAL EVIDENCE?

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REPORTER'S CERTIFICATE

I, JEANETTE A. GILLICK, CSR NO. 7961, OFFICIAL
COURT REPORTER IN AND FOR THE SUPERIOR COURT OF THE STATE
OF CALIFORNIA, COUNTY OF ORANGE, DO HEREBY CERTIFY THAT THE
FOREGOING TRANSCRIPT IS A TRUE AND CORRECT TRANSCRIPT OF MY
SHORTHAND NOTES, AND IS A FULL, TRUE AND CORRECT STATEMENT
OF THE PROCEEDINGS HAD IN SAID CAUSE.

DATED THIS 24h DAY OF Cloauaay , 2016,

“SR NO.
PORTER

